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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT
 
    GRADUATION SOLUTIONS, LLC,                   :
        Plaintiff,                               :            No.: 3:17-cv-01342 (VLB)
                                                 :
          v.                                     :           June 21, 2018
                                                 :
    ACADIMA, LLC; ALEXANDER                      :
    LOUKAIDES;                                   :
         Defendants.                             :
 
               RULING AND ORDER ON DEFENDANT ALEXANDER LOUKAIDES’
                           MOTION FOR PROTECTIVE ORDER
 
          Plaintiff, Graduation Solutions, LLC, initiated this action against Acadima,

    LLC (“Acadima”) and its principal Defendant Alexander Loukaides (“Mr.

    Loukaides”) asserting the following causes of action; (1) copyright infringement

    under 17 U.S.C. § 101, et. seq.; (2) trade dress infringement under section 43(a) of

    the Lanham Act, 15 U.S.C. § 1125(a); (3) false advertising under section 43(a) of

    the Lanham Act, 15 U.S.C. § 1125(a); (4) violation of Connecticut Unfair Trade

    Practices Act (“CUTPA”); (5) violation of Connecticut’s common law prohibition

    against unfair competition; and (6) unjust enrichment. Before the Court is Mr.

    Loukaides Motion for Protective Order (the “Motion”).       [Dkt. 47].   The Motion

    requests the Court both quash Plaintiff’s notice of deposition of Mr. Loukaides

    and to adjourn any futures depositions of Mr. Loukaides until after his Motion to

    Dismiss [Dkt. 36] has been decided.      For the following reasons, the Motion is

    DENIED.

          The Motion and its supporting memorandum of law seek relief under
 
    Federal Rule of Civil Procedure 26(c)(1) which provides in pertinent part:
 
          A party or any person from whom discovery is sought may move for
          a protective order in the court where the action is pending—or as an
          alternative on matters relating to a deposition, in the court for the

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          district where the deposition will be taken. The motion must include
          a certification that the movant has in good faith conferred or
          attempted to confer with other affected parties in an effort to resolve
          the dispute without court action. The court may, for good cause,
          issue an order to protect a party or person from annoyance,
          embarrassment, oppression, or undue burden or expense, including
          one or more of the following . . .
 
    Fed. R. Civ. P. 26(c)(1). The enumerated protective measures relate to the manner

    in which the discovery is to be provided and the manner in which discovered

    information is used. Id. The enumerated means of affording protection limit but

    do not prevent discovery from being obtained. The Motion does not seek to limit

    the information adduced at the noticed deposition or its use; it seeks to preclude

    the deposition from occurring. Thus, Rule 26 in inapt.

          Assuming for argument sake that Rule 26 is applicable, the Court interprets

    Mr. Loukaides’ Motion under the standard imposed by that rule. Rule 26 provides

    for discretionary relief “to circumscribe discovery even of relevant evidence by

    making any order which justice requires to protect a party or person from

    annoyance, embarrassment, oppression, or undue burden or expense.” Jones v.

    Hirschfeld, 219 F.R.D. 71, 74-75 (S.D.N.Y. 2003) (citing to Herbert v. Lando, 441

    U.S. 153, 177 (1979)) (internal quotations omitted). A court has authority to, sua

    sponte, stay discovery and limit the scope pursuant to Rule 26(b)(2)(C).        See

    Plaintiffs # 1-21 v. Cty. of Suffolk, 138 F. Supp. 3d 264, 279 (E.D.N.Y. 2015);

    Tucker v. Am. Int’l Grp., Inc., 281 F.R.D. 85, 91 (D. Conn. 2012). The movant has

    the burden of persuasion.    See Jones, 219 F.R.D. at 74 (S.D.N.Y. 2003).       The

    movant must demonstrate a “clearly defined and serious injury” to be entitled to

    such relief. Allen v. City of New York, 420 F. Supp. 2d 295, 302 (S.D.N.Y. 2006).




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    The Motion does not clearly define a serious injury that would entitle Mr.

    Loukaides to relief, particularly considering the allegations of the complaint.

          In addition to failing to meet the substantive burden of persuasion, the

    motion fails to satisfy Rule 26(c)’s procedural requirements. A motion submitted

    pursuant to Rule 26(c) must include a certification “that the movant has in good

    faith conferred or attempted to confer with other affected parties in an effort to

    resolve the dispute without court action.” Fed. R. Civ. P. 26(c)(1). The District of

    Connecticut Local Rules delineate the contours of this conference requirement.1
 
    The Motion does not include a certification that satisfies Rule 26 and Local Rule
 
    37(a)’s requirement. M r . Loukaides is not entitled to protection under Rule 26

    even assuming it does apply.

          The Federal Rules of Civil Procedure do provide a vehicle for precluding a

    deposition from taking place. Rule 45 permits an officer of the court to issue a

    subpoena commanding “each person to whom it is directed to attend and testify

    at a deposition.” Fed. R. Civ. P. 45(a)(1)(A)(iii). Like Rule 26, Rule 45 sets certain
 
 
 
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     The District Court of Connecticut Local Rules requires that,
       No motion pursuant to Rules 26 through 37, Fed. R. Civ. P. shall be filed
       unless counsel making the motion has conferred, in person or by
       telephone, with opposing counsel and discussed the discovery issues
       between them in detail in a good faith effort to eliminate or reduce the area
       of controversy, and to arrive at a mutually satisfactory resolution. In the
       event the consultations of counsel do not fully resolve the discovery
       issues, counsel making a discovery motion shall file with the Court, as a
       part of the motion papers, an affidavit certifying that he or she has
       conferred with counsel for the opposing party in an effort in good faith to
       resolve by agreement the issues raised by the motion without the
       intervention of the Court, and has been unable to reach such an agreement.
       If some of the issues raised by the motion have been resolved by
       agreement, the affidavit shall specify the issues so resolved and the issues
       remaining unresolved.
    D. Conn. L. Civ. R. 37(a).

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    substantive and procedural standards which must be met in order to avail oneself

    to the benefits accorded by the rule.

          “On timely motion, the court for the district where compliance is required

    must quash or modify a subpoena that: (i) fails to allow a reasonable time to

    comply; [or] requires a person to comply beyond the geographical limits

    specified in Rule 45(c). . . .” Fed. R. Civ. P. 45(d)(3)(A)(i)-(ii).   Section 45(c)

    specifies where a deposition may be conducted:

          A subpoena may command a person to attend a trial, hearing, or
          deposition only as follows:
          (A) within 100 miles of where the person resides, is employed, or
          regularly transacts business in person; or
          (B) within the state where the person resides, is employed, or
          regularly transacts business in person, if the person
          (i) is a party or a party’s officer; or
          (ii) is commanded to attend a trial and would not incur substantial
          expense.
 
 
 
    Fed. R. Civ. P. 45(c) (emphasis added). “The scope of discovery may be the same

    under Rules 26 and 45, but the standards for obtaining relief are not identical.”

    Brown v. Corp., No. 3:14-CV-1220-VLB, 2015 WL 5923541, at *1 (D. Conn. Oct. 9,

    2015) (citing to Bates v. Private Jet Commercial Grp., Inc., 2012 WL 1660874, at *4

    (D.N.H. May 11, 2012)).    Regardless, both forms of motion put the burden of

    persuasion on the movant. See Jones, 219 F.R.D. at 74–75 (citing to Dove v. Atl.

    Capital Corp., 963 F.2d 15, 19 (2d Cir.1992)). In the absence of this distinction, the

    Court addresses both rules.

          Rule 45 requires the court to grant relief by quashing or modifying a

    subpoena requiring a person to comply beyond the geographical limits specified

    in Rule 45(c). Fed. R. Civ. P. 45(d)(3)(A). While Mr. Loukaides failed to cite Rule

    45 and therefore the motion may be denied for failure to meet the burden of

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    persuasion, Mr. Loukaides may have mis-cited the legal authority for his motion.

    The case he cites references the burden placed on witnesses required to be

    deposed outside their states of residence, a principle set forth under the 2015

    version of Rule 26. See Friedman v. Three PLC., 2015 WL 13628133, at *2-3 (D.

    Conn. July 1, 2015).

 
          Notwithstanding, the specific reference to Mr. Loukaides’ location calls the

    Court to consider Rule 45 as well. This is because Rule 45 specifically precludes

    the Court from enforcing subpoenas that are addressed to individuals located

    more than 100 miles from the court unless the deposition is of a party’s officer

    and is held within the state where the person resides, is employed, or regularly

    transacts business in person. The complaint alleges Mr. Loukaides is an official

    of Acadima and thus Rule 45 may be the pertinent rule to which Mr. Loukaides

    intended to refer.

          In reviewing a motion to quash, the court should consider “the manner and

    extent of the burden and the probable negative consequences of insisting on

    compliance.”    Aristocrat Leisure Ltd. v. Deutsche Bank Tr. Co. Americas, 262

    F.R.D. 293, 299 (S.D.N.Y. 2009.   The Court will therefore consider whether the

    subpoena should be quashed applying the procedural and substantive

    requirements of Rule 45.

          First with regards to the procedural requirements, Rule 45 permits a court

    to quash a subpoena to appear at a deposition only on a timely motion, made in

    the court for the district where compliance is required.” Fed. R. Civ. P. 45(d)(3).

    “In order to be timely, a motion to quash a subpoena generally must be filed

    before the return date of the subpoena.” Brown v. Hendler, No. 09 CIV. 4486 RLE,

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    2011 WL 321139, at *2 (S.D.N.Y. Jan. 31, 2011); see also Innomed Labs, LLC v.

    Alza Corp., 211 F.R.D. 237, 240 (S.D.N.Y. 2002) (“Although [Rule 45(d)(3)] requires

    that the motion to quash be timely without defining what “timely” is, it is

    reasonable to assume that the motion to quash should be brought before the

    noticed date of the scheduled deposition.”). In fact, the motion should be filed far

    enough before the noticed deposition to allow the court to rule on the motion.

    Otherwise, the rule would effectively give litigants rather than the court the power

    to quash subpoenas.

          Mr. Loukaides Motion states that, “on April 20, 2018, Plaintiff served a

    notice of deposition seeking to depose Loukaides on May 22, 2018.” ECF No. 47-

    1, at 1.     Although the subpoena was served more than a month before the

    scheduled deposition, Mr. Loukaides did not file the motion for a protective order

    and to quash until the date of the scheduled deposition. Untimely motions to

    quash a deposition     provide   the   court   with   little   to   no   opportunity   to

    consider the discovery dispute prior to the scheduled deposition. They raise a

    question of the legitimacy of the subpoena, effectively forcing without court

    intervention the cancellation of the subpoena, thus having the effect of an abusive

    dilatory litigation tactic preemptive of the court’s authority.      4 Cyc. of Federal

    Proc. § 14:334 (3d ed.) (“While a court will ordinarily excuse a failure to comply

    with the particularity requirement if it is inadvertent, such is not the case where

    the failure to comply is the result of calculation, gross negligence, or bad faith.”).

    The Court finds the Motion was not timely and, in the absence of good cause

    warranting the untimely filing, the subpoena is not entitled to be quashed

    or                                     modified.                                       In


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addition to the procedural deficiencies of the motion, it is also substantively

deficient.

          The Motion states Mr. Loukaides “is a United Kingdom national who

    maintains a residence in China and currently has no future plans to visit

    Connecticut.” ECF 47-1, at 3. The Motion does not address the other substantive

    provisions of the rule governing where a person may be compelled to attend a

    deposition, namely where he is employed and regularly transacts business. Nor

    does it set forth the manner and extent of the burden and the probable negative

    consequences of compliance.      Thus Mr. Loukaides has failed to meet his burden

    of showing he is entitled to relief under Rule 45.

          Further, the Court is not persuaded that Mr. Loukaides is not subject to

    deposition even if he is no longer a party to the action and resides outside of this

    district. Mr. Loukaides argues, “Plaintiff has failed to make out a prima facie case

    of personal jurisdiction,” which precludes its ability to conduct “any discovery,

    even limited jurisdictional discovery.” ECF No. 47-1, at 2. Federal Rule of Civil

    Procedure 45 prescribes the manner of compelling depositions of individuals

    outside the jurisdiction of the court, whether the deponent is a party or not.2 Due
 
    to Mr. Loukaides’ Motion to Dismiss being limited in the sense that it seeks to

    only remove himself as a party to this lawsuit, any ruling on the Motion to

    Dismiss will not change Acadima, LLC’s status as a defendant or result in a

    dismissal of this case. Meaning, the Plaintiff could subpoena Mr. Loukaides as a

    witness in its action against Acadima, LLC. “A party may, by oral questions,

 
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     The parties are directed to Rule 45(c)(1) and, if applicable, Rule 28(b) and 28
    U.S.C. § 1783.


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    depose any person, including a party, without leave of court except as provided

    in Rule 30(a)(2).” Fed. R. Civ. P. 30(a)(1). There may be circumstances under

    which Loukaides’ “attendance may be compelled by subpoena under Rule 45.”

    Id.    The Court need not decide the issues of personal jurisdiction or

    extraterritorial deposition in this ruling.   However, these facts further militate

    against favorable consideration of a substantively and procedurally deficient

    motion possibly intended to circumvent the orderly process of this case.

          Accordingly, Defendant Alexander Loukaides’ Motion for Protective Order

    is DENIED. Counsel are ordered to meet and confer in good faith to determine

    where, when and how Mr. Loukaides deposition may be conducted.
 
 
 
                                                        IT IS SO ORDERED.
 
                                                              /s/
                                                        Hon. Vanessa L. Bryant
                                                        United States District Judge
 
 
 
    Dated at Hartford, Connecticut: June 21, 2018




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